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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_______________              __,;x
DONALD OUICHARD.                                                     Index No. 2:18-CV-04083;
                                                                     2: 19-CV-03443
                               Plaintiff,                             ORDER TO SHOW
                                                                      CAUSE                FILED
                                                                                      _IN CLERl(S 0FFtCE
-against-                                                                         U,1. DISTRICT COURT E.D.N.V.


SUFFOLK COUNTY SHERIFF
                                                                                  *     APR 1,2022         *
CORRECTIONS FACiruTY, ET AL.,                                                     LONG ISLAND OFFICE

        Defendants.
_______________     __,;x
       UPON reading and filing the annexed Affirmation of LANCED. SIMON, ESQ., dated the

14* day of April 2022, the attached exhibits, and upon all the prior pleadings heretofore had herein,

       LET the Defendants, or their attorney, and the Plaintiff DONALD GUICHARD, show

cause before this Court, to be held in and for the United States District Court Eastem District of

New York, at the Courthouse thereof located at 100 Federal Plaza, Central Islip, on the   ~'!day of
~ c; \       , 2022, at 10:30 o'clock in the forenoon of said day or as soon thereafter as counsel
can be heard, why an order should not be made and entered herein:

   1. Relieving SIMON LAW GROUP, PLLC as attorneys of record for DONALD

       GUICHARD, the Plaintiff in the above-captioned action, and declaring that SIMON LAW

       GROUP, PLLC have no further responsibility in this action pursuant to CPLR § 321(b)(2);

   2. Granting to the Plaintiff a stay of all proceedings in the within matter for a period of thirty

       (30) days from the date of the Court's determination of 1his application. to afford the

       Plaintiff an opportunity to retain new counsel;

   3. Granting leave to serve the Order to Show Cause on Defendant's COWlSel, BRIAN C.

       MITCHELL, ESQ., without the supporting Affirmation and exhibits;
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     4. Granting SIMON LAW GROUP, PLLC such other, further, and different relief as to this

              Court deems just proper.

SUFFICIENT CAUSE APPEARING THEREFORE, it is

                                 , that Sf MON LAW GROUP, PLLC is re




              OIWERED, that pending the hearing and determination                 of this application, all

proceedings in this matter are hereby STA YEO; and it is further

              ORDERED, that service of a copy of this Order, toaether with the papers upon \1,,'hich it is

based, upon the Plaintiff, DONALD GUICHARD by email and overnight mail and a copy of the

Order only. mthout any supporting papern, upon t_'.Ounsel          for   the Plaintiffs counsel,    regular

mail, BRIAN C. MITCHELL, ESQ., with offices located 100 Veterans Highway, Hauppauge,

l\'e\\   York 11788:, by electronic delivc:ry \ia NYSCEr:, on or before the        J+   d::iy of~ 0,:,   l
2022 be deemed good and sufficient service thereof.
                     1S'"
Dated: April )4, 2022
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